11/;P9/2004         12:W        US DISTRICT CRT    9   101B333P14067277€48                              N0.862     DB2
                     Case 4:04-cr-00156-CSO Document 1 Filed 11/29/04 Page 1 of 2




                                      UNITED STATES DISTRICT COURT
                                    FOR THB DISTRICT OF SOUTH DAKOTA
                                                      DMSION
       -                                 --------                                                                CLERK

        UNITED STATES OP AMERICA.                           CR. &Y*SO118
                                Plaintiff,                  INDICTMENT                                                   I
                                                                                                                         I

              vs.                                           Fallw tn Pay Legal Child                                      I




        NATHAN CHASING HORSE
                                                            Support Obli@(ations
                                                                                                                         I
        &a NATHAN CkIASlNG HI8 HORSE,                        18 U.S.C. # 228(a)(3)

                                Defendant.
                                     ---..---
               ne GTand July charges:
               From on or about February 3,2003.and continuing ta t
                                                                  bpresent in PeMiagtan County.
                                                                                                                              I
       in tha Distriat of South Dakota, d&ndant, Nathau Chasing How,Ws/
                                                                      Nathan Chasing His
                                                                                                                              I
       Horse, W e residing in a dIff~fentstate. ~ t respect
                                                      h     to his midor child, who resides in South
                                                                                                                              I
       Dakota,m            y and unlawfully failed to pay a past due suppart obligation, as ordered by the
                                                                                                                              I
       Seventh Judicial Court, Pennington Couaty, South Dakota, aad which obligation is in an amount
                                                                                                                              I
       greater than %10,000, in doheion of 18 U.S.C. 8 228 (a)(3).
                                                                                                                              I

        JAMES E.McMAHON                      -
                                                       &Qb
                                                         Foreperson
                                          Case 4:04-cr-00156-CSO Document 1 Filed 11/29/04 Page 2 of 2

           11/99/04               18:lB      FAX   605 330 4410
                                                                         US AlTORNEPS OPPICE        -
!        AoL044PIRBY. m           1         fa?-
                                                           .                                             .
                                                           v'                                       4
                                                         United States Distrid Court
                                                                  Dlstrs~tof South Dakota
                                                                     Western Division


                    UNITED STATES OF AMERICA                                   WARRANT FOR ARREST
                                      !             v.
          NATHAN CHASING HORSE dkla NATHAN Case Number: Okb0110
                 W I N G HIS HORSE
                  I 1019 Lead Strest, SE
                  : Albuquerque, NM



         TIX       The UNted Shtw Mmhal
                   and any authorbed United States OfAw

              YOU .ARE HEREBY COMMANDED t6                    Nathan Chaslng Home EllWa Nathan
         Chasing H@ HOW and bring him ar harforthvMh ta the nearest maglstrale tu answer a(n1
         M lndimenl 0 ~&rnatIon OCamplafnt DOrder of court                                 PdJtlon to Revoke
         Charglng hlm,mher wtth
                   ~allukto Pay Legal Chlld Support Omstlons
                .




         Ball fbmd at$
         BY
                                                                                             NEmdJEdw-
    L



                                                                          Rrmm
        Thls warrant was refahred and executed with ttw arrest or me abae-nawd defendant at

    t   ma-               ;


        cmadenee              1
                          I                          -


                          I
               room                                                     & U O ~ ~ VP   n             elarnnrnn.   -.   .A-   .
